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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


 ESTADOS UNIDOS MEXICANOS,                              )
                                                        )
             Plaintiff,                                 )
                                                        )
 v.                                                     )   Civil Action No. 1:21-CV-11269-FDS
                                                        )
 SMITH & WESSON BRANDS, INC., ET AL.,                   )
                                                        )
             Defendants.                                )
                                                        )

                      DEFENDANT STURM, RUGER’S REPLY IN SUPPORT
                          OF ITS MOTION TO DISMISS PLAINTIFF’S
                       COMPLAINT PURSUANT TO FEDERAL RULE OF
                                 CIVIL PROCEDURE 12(b)(2)

                                          INTRODUCTION

            In response to Ruger’s motion to dismiss, the Mexican Government was required to present

material of an evidentiary quality demonstrating that the harm it has allegedly sustained as the

result of criminal violence in Mexico arises out of or relates to Ruger’s lawful sales of firearms to

federally licensed wholesale firearm distributors doing business in Massachusetts. It has failed to

do so. Instead, the Mexican Government stands on factually unadorned allegations in its Complaint

and an expert’s report that does not address the primary jurisdictional issue before the Court:

whether Ruger’s contacts with Massachusetts are sufficiently related to the causes of action the

Mexican Government has pled to subject Ruger to specific personal jurisdiction in this case. As

demonstrated below, the Mexican Government has failed to meet its prima facie burden and,

accordingly, Ruger’s motion should be granted.




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                                                  ARGUMENT

            I.     The Mexican Government’s assertion that Ruger “imposes unlawful
                   distribution policies” on federally licensed distributors in Massachusetts has
                   no factual basis and does not support a finding that Ruger is subject to specific
                   personal jurisdiction.

            The Mexican Government cannot satisfy the relatedness requirement merely by showing

that Ruger merely transacted business in Massachusetts. Marino v. Hyatt Corp., 793 F. 2d 427,

428 (1st Cir. 1986). Rather, the Mexican Government must show that its claims arise out of or

relate to those in-forum activities. Ticketmaster-New York, Inc. v. Alioto, 26 F. 3d 201, 206 (1st

Cir. 1994). The Mexican Government, however, has presented no evidence that Ruger transferred

firearms to Witmer Public Safety Group, Inc. (“Witmer”),1 a federally licensed firearms

distributor, or to any other federally licensed firearm distributor in the Commonwealth, in violation

of any federal or state statute or regulation governing the transfer of firearms from one federal

firearms licensee to another.

            Instead, the Mexican Government asserts, without factual support, that Ruger “imposes …

unlawful distribution policies” on wholesale distributors in Massachusetts to whom Ruger sells

firearms and argues that those policies “control” further downstream sales by others to “straw

purchasers and other traffickers.” (Doc. 103, pp. 2, 3, 10, 11, 12, 16.) However, the Mexican

Government does not allege what those “unlawful distribution policies” are, and it does not allege

how Ruger’s alleged policies direct or require others to act illegally. Instead, in each instance

where the Mexican Government refers to Ruger’s alleged “unlawful distribution policies” in its

Opposition brief, it cites paragraph 42 of its Complaint, which is as factually barren as the

argument it purportedly supports:

             42. Smith & Wesson, Beretta, Century Arms, Colt, Glock, and Ruger each has
             purposefully availed itself of the privilege of conducting activities within

1
    Formerly known as Interstate Arms Corp. (Doc. 1, ¶ 40.)
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             Massachusetts, including by systematically serving the gun market here;
             regularly marketing and advertising its products here; regularly making
             substantial sales to Defendant Interstate Arms in Middlesex County; and
             imposing the policies and practices by which it sells its guns to Interstate Arms
             in Middlesex County and by which Interstate Arms must sell those guns to
             dealers throughout the U.S. Each of these Defendants’ unlawful conduct as
             alleged throughout this Complaint—including the sales, marketing, advertising,
             and distribution policies and practices that occurred in Middlesex County—
             resulted in guns that each of them sold to Defendant Interstate Arms in
             Middlesex County being trafficked into Mexico and used in criminal activities
             there, causing the harm about which the Government complains.

(Doc. 1, ¶ 42.)

            The Mexican Government goes so far as to argue that Ruger imposes “policies” on Witmer

in Massachusetts that “flout” Massachusetts firearm laws and “are at the heart of the Government’s

allegations regarding Ruger’s illegal conduct.” (Doc. 103, p. 16.) But the Mexican Government

does not identify the Massachusetts firearm laws that are being flouted under unidentified Ruger

“policies.” See Platten v. HG Bermuda Exempted Ltd., 437 F. 3d 118, 134 (1st Cir. 2006)

(unsupported allegations do not support a prima facie showing of personal jurisdiction); Barrett v.

Lombardi, 239 F. 3d 23, 27 (1st Cir. 2001) (“[A]llegations in a lawyer's brief or legal

memorandum are insufficient, even under the relatively relaxed prima facie standard, to establish

jurisdictional facts.”); Rogakin ex rel. Rogatkin v. Raleigh America/Diamonfback BMX, No. 13-

11574-RGS, 2013 WL 5202639 (D. Mass. Sept. 12, 2003) (rejecting conclusory “unfair dealing”

claim as jurisdictional evidence). The Mexican Government’s bare assertion that Ruger imposes

distribution policies on others that illegally “flout” firearms laws should be disregarded.

            The Mexican Government takes issue with Ruger’s observation that the Complaint fails to

allege that Ruger’s contacts with Massachusetts—sales to Witmer—are unlawful. (Doc. 103, p.

3.) It argues that “[t]he Complaint alleges otherwise” but offers no evidence to support that reading

of the Complaint. Instead, it retreats to the conclusory and wholly insufficient allegation that


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“Ruger’s distribution policies … foreseeably and knowingly facilitate the unlawful trafficking of

its guns to Mexico.” (Id.) However, as noted above, an allegation is not evidence, particularly an

allegation devoid of factual content, and does not move the needle toward a finding of specific

personal jurisdiction. See Cosart v. United Excel Corp., 804 F. 3d 13, 18 (1st Cir. 2020) (a plaintiff

must do more than surmise a favorable factual scenario to meet its prima facie burden). The

Mexican Government’s hyperbolic and circular efforts to connect their causes of actions and

alleged damages to Ruger contacts with Massachusetts miss the mark by a wide margin.2

            II.   The Expert Report of Lucy P. Allen fails to address whether the Mexican
                  Government causes of action are too attenuated from Ruger’s lawful transfer
                  of firearms to federal firearms licensees in Massachusetts to confer specific
                  personal jurisdiction.

            Lucy Allen was asked by the Mexican Government “to estimate the number of firearms

trafficked into Mexico over the last ten years with a sale linked to Massachusetts that were

manufactured by each of the Defendants .…” (Doc. 108-1, p. 2.) She performed her “analysis” by

“extrapolating from limited available data,” and her “estimates” leave many unanswered questions.

(Id.) However, the fundamental problem with Ms. Allen’s report is that it does not address the

principal question before the Court: whether the Mexican Government has met its burden to

demonstrate that Ruger’s contacts with Massachusetts—lawful firearm sales to federal firearms

licensees in the Commonwealth—are too attenuated from the Mexican Government’s causes of


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          The Mexican Government alleges that Ruger violated 18 U.S.C. §922(b)(4) by selling fully automatic
machine guns to Witmer. (Doc. 1, ¶¶ 307-313; Doc. 103, p. 10; Doc. 111, pp. 22-23.) Although Section 922(b)(4)
prohibits federal firearms licensees from selling or delivering a fully automatic “machinegun” to any person, except
as authorized by the Attorney General, Section 922(b)(4) expressly does not apply to “transactions between” federally-
licensed businesses, such as alleged transfers by Ruger to Witmer, and other federal firearms licensees in
Massachusetts. 18 U.S.C. §922(b) (The prohibitions found in “[p]aragraphs (1), (2), (3), and (4) of this subsection
shall not apply to transactions between licensed importers, licensed manufacturers, licensed dealers and licensed
collectors.”) The Mexican Government’s allegation is untenable for other reasons, as described more fully in
Defendants’ Joint Reply in Support of Defendants’ Motion to Dismiss. First and foremost, the semi-automatic rifles
that the Mexican Government wrongly characterizes as fully-automatic firearms (commonly referred to as AR-type
rifles) are not “machineguns,” as defined in 26 C.F.R. §5845(b), because they are semi-automatic rifles that were not
“designed to shoot … automatically,” and therefore they cannot be “readily restored to shoot … automatically.” 26
C.F.R. §5845(b).
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action for harm resulting from remote criminal cartel violence in Mexico. The Mexican

Government’s characterization of Ms. Allen’s analyses as “compelling proof” on the “relatedness”

requirement is completely unexplained. (Doc. 106, p. 12.)

            At most, Ms. Allen’s “estimates” suggests that some Ruger firearms sold by licensed

independent wholesale distributors or retail dealers in Massachusetts were later recovered in

Mexico. That is hardly surprising. According to the Mexican Government, there are “two national

gun wholesalers” located in Massachusetts. (Doc. 103. p. 10.) It is logical that a number of

firearms have lawfully passed through these two wholesale distributors on their way to federally

licensed retail dealers all across the country, and that thereafter some may have been trafficked

illegally across the border by third parties. It is also logical to assume that some firearms lawfully

sold by one of the many federally licensed retail dealers doing business in the Commonwealth

thereafter entered an illegal secondary market for used firearms, in which criminal traffickers may

operate, and may have been illegally smuggled across the border by third parties. (Doc. 103, p. 2.)

            However, the bare number of Ruger firearms recovered in Mexico with some indirect

connection to Massachusetts does not demonstrate the required connection between Ruger’s lawful

activities in Massachusetts and the Mexican Government’s claims for damages arising from

remote cartel violence in Mexico. Under the Mexican Government’s own allegations, a firearm’s

path from (a) Ruger, to (b) the inventory of a licensed wholesale distributor in Massachusetts, to

(c) the inventory of a licensed retail dealer located somewhere in the United States, to (d) a retail

purchaser, who has been approved to purchase the firearm following a law enforcement

background check, to (e) criminal firearm traffickers, to (f) criminal firearms use in Mexico, is too

attenuated from Ruger’s remote act of placing the firearm in commerce in Massachusetts to find

that Ruger is subject to specific personal jurisdiction in Massachusetts. The detour on this path,


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which removes any nexus between Ruger’s legal in-forum activities and defeats the Mexican

Government’s jurisdictional argument, is the remote action of third party criminal firearm

traffickers with whom Ruger has no relationship and over whom Ruger has no control.

            III.   The Ford Motor Company decision did not eliminate the Mexican
                   Government’s burden to demonstrate through material of evidentiary quality
                   that its claims arise out of or relate to Ruger’s contacts with Massachusetts.

            Ruger has not just given “lip service” to the United States Supreme Court’s decision in

Ford Motor Company, as the Mexican Government argues. (Doc. 103, p. 10.) The Court in Ford

Motor Company held that a strict causal relationship between a defendant’s in-state activity and a

plaintiff’s cause of action is not required in every case to exercise specific personal jurisdiction

over a defendant, which Ruger acknowledged in its Memorandum of Law. (Doc. 57, p. 6.) But

while the Court held that “some relationships will support jurisdiction without a causal showing,”

it also emphasized that “the phrase ‘relate to’ incorporates real limits” and “does not mean anything

goes.” Id. Those limits require that the connection between a defendant’s in-forum activities and

a plaintiff’s claim cannot be attenuated, which aptly describes the alleged connection between

Ruger’s lawful sales to other federal firearms licensees in Massachusetts and remote cartel

violence in Mexico. See Adams v. Gissell, No. CV 20-11366-PBS, 2021 WL 2786277, at *9 (D.

Mass. May 24, 2021) (noting that Ford Motor Company is consistent with First Circuit precedent,

and that while causation is not a per se requirement of specific jurisdiction, its “presence or absence

is important” and a “meaningful nexus” between defendant’s in-forum activities and plaintiff’s

harm must be shown.).3


3
         A key to the Supreme Court’s decision in Ford Motor Company was that the plaintiffs were residents of the
forum states and their harm occurred in those forums. Ford Motor Company, 141 S. Ct. at 1022 (“When a company
like Ford serves a market for a product in a State and that product causes injury in the State to one of its residents, the
State’s courts may entertain the resulting suit.”); see also Chouinard v. Marigot Beach Club & Dive Resort, No. CV
20-10863-MPK, 2021 WL 2256318, at *11 (D. Mass. June 3, 2021) (declining to exercise personal jurisdiction where
injury occurred outside the forum state, finding that “a key component of the Ford constitutional relatedness inquiry
[was] absent in this case. There, plaintiffs were in car accidents in Montana and Minnesota and brought suits in
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            Importantly, the Court in Ford Motor Company did not relieve plaintiffs of their burden to

demonstrate that specific personal jurisdiction exists by presenting evidence. The First Circuit

continues to demand that a plaintiff proffer facts sufficient to show personal jurisdiction. See

Motus, LLC v. Car Data Consultants, Inc., 23 F. 4th 115, 123 (1st Cir. 2022) (“Even though a

plaintiff need not plead facts that suffice to ground the exercise of in personam jurisdiction, it

must—if challenged—ensure that the record contains such facts.”). Neither the Mexican

Government’s unsupported assertion that Ruger “imposes unlawful distribution policies” on its

Massachusetts customers nor Lucy Allen’s estimate of the bare number of Ruger firearms

recovered in Mexico, with remote connections to Massachusetts, satisfies its burden.

            IV.    The Mexican Government has not demonstrated Massachusetts’s interest in
                   adjudicating this case in Massachusetts or why Massachusetts is a convenient
                   forum to litigate the Mexican Government’s grievances.

            The Court need not consider whether the exercise of jurisdiction over Ruger is reasonable

under the Gestalt factors because the Mexican Government has failed to meet its burden on the

“relatedness” prong. United Electrical Workers v. 163 Pleasant St. Corp., 960 F.2d 1080, 1091

n.11 (1st Cir.1992) (“The Gestalt factors come into play only if the first two segments of the test

for specific jurisdiction have been fulfilled.”). Regardless, the Mexican Government has failed to

show, under the second Gestalt factor, that Massachusetts has an interest in the prosecution of this

case. The Mexican Government argues that the Commonwealth has a “strong interest” in

precluding Ruger from “implementing policies … that flout” Massachusetts firearm laws, but—

again—it does not identify what those policies are or how they allegedly “flout” Massachusetts



Montana and Minnesota.”). Here, the Mexican Government is not a Massachusetts resident and its alleged harm did
not occurred in the Commonwealth. Significantly, the Court in Ford Motor Company rejected Ford’s argument that
jurisdiction was proper in each of the states where the cars were first sold (the argument the Mexican Government
makes here) because suits in those states would “involve[] out-of-state parties, an out-of-state accident, and out-of-
state injuries; the only connection with the State is that a former owner once (many years earlier) bought the car
there.”). Ford Motor Company, 141 S. Ct. at 1031.
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firearms laws. (Doc. 103, p. 16.) The Mexican Government’s failure to identify the “unlawful

distribution policies Ruger allegedly “imposed” on Witmer weighs against exercising jurisdiction

over Ruger.

            The same failure by the Mexican Government weighs against finding that the third Gestalt

factor—the plaintiff’s interest in obtaining relief in Massachusetts—tips the scale in favor of

jurisdiction. Indeed, its argument that “substantial connections exist among Ruger, other

Defendants, the Government’s claims and the Government’s injuries,” and this forum is wholly

unsubstantiated. (Doc. 103, p. 18.) Maintaining suit against Ruger in Massachusetts would involve

out-of-state parties, out-of-state criminal firearms trafficking activities, and injuries occurring in a

foreign country. The Mexican Government advances no interest related to the Massachusetts

forum beyond its own desire to sue the principal American firearm manufacturers in one court, an

interest that could be advanced in every multi-defendant case.4

            V.     The Mexican Government is not entitled to jurisdictional discovery.

            The Mexican Government’s request to conduct jurisdictional discovery should be denied

for multiple reasons. First, as shown above, the Mexican Government has not demonstrated a

colorable claim that Ruger is subject to specific personal jurisdiction in this case. See U.S. v. Swiss

American Bank, Ltd., 274 F.3d 610, 625-26 (1st Cir. 2001) (affirming denial of jurisdictional

discovery based on the government’s “unconvincing” relatedness showing and failure to present

colorable claim for personal jurisdiction). Second, in addition to not presenting a colorable claim

for personal jurisdiction, the Mexican Government has not shown diligence in preserving its


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          The Mexican Government misreads Ruger’s Memorandum of Law to suggest that the court in Katz v.
Spiniello Companies, 244 F. Supp. 3d 237 (D. Mass. 2017), held that avoiding piecemeal litigation was not a factor
to be considered in determining whether the exercise of jurisdiction is reasonable. (Doc. 103, p. 18.) Rather, Ruger
maintains that the determination of whether it is subject to specific personal jurisdiction should not be influenced by
the fact that there are in-forum defendants in the case who are subject to personal jurisdiction in Massachusetts. Ruger
did not rely on Katz to support this proposition but relied on Newman v. European Aeronautic Defence and Space Co,
EADS N.V., 2011 WL 2413792 (D. Mass. June 16, 2011). (Doc. 57, p. 9 n.4.)
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claimed right to jurisdictional discovery. Id. at 626. Diligence “includes presenting facts to the

court which show why jurisdiction would be found if discovery were permitted.” Id. (citing Barrett

v. Lombardi, 239 F.3d 23, 26 (1st Cir. 2001)). A plaintiff seeking jurisdictional discovery must

present to the court “pertinent avenues of inquiry” it intends to pursue, including why jurisdiction

would be found if discovery were permitted. Id. (citing Whittaker Corp. v. United Aircraft Corp.,

482 F. 2d 1079, 1086 (1st Cir. 2001)); see also Stars for Art Productions FZ, LLC v. Dandana,

LLC, 806 F.Supp.2d 437, 451 (D. Mass 2011) (plaintiff’s failure to explain how broad proposed

lines of discovery inquiry would yield evidence supporting personal jurisdiction is fatal to request

for jurisdictional discovery).

            Here, the Mexican Government devotes just two sentences in its Opposition to its request

for jurisdictional discovery. (Doc. 103, p. 20.) It states broadly and inadequately that discovery

from Ruger “would provide additional and updated evidence documenting the extent to which

guns sold in Massachusetts are trafficked into Mexico.” (Id.) But it makes no effort to explain how

any evidence in Ruger’s possession will overcome the substantial obstacle it faces to demonstrate

that Ruger’s lawful sales of firearms to Massachusetts-based distributors are related to remote

criminal firearms violence in Mexico. The Mexican Government’s allegations make clear that

Ruger sells its firearms to those independent distributors, who in turn sell to independent retail

dealers throughout the country. And it is from those independent retail dealers that persons acquire

firearms, which then find their way into Mexico illegally through the criminal actions of third

parties wholly outside the chain of lawful, licensed firearms distribution and sales. The Mexican

Government does not explain why Ruger would have, in its records, evidence of these illegal

trafficking activities by third parties with whom it does not conduct business and who are multiple

steps removed from Ruger’s lawful transfers of firearms to wholesale distributors in


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Massachusetts. See Motus, 23 F. 4th at 128 (finding that jurisdictional discovery was unwarranted

because plaintiff did not act diligently in preserving its rights by indicating what facts would be

developed in discovery).

            The Mexican Government’s claim that information in Ruger’s possession regarding “ATF

traces” of firearms will document the extent to which Ruger firearms were sold to Massachusetts

distributors and then trafficked into Mexico is not only unexplained, it is demonstrably wrong. A

firearm trace is the process by which ATF “reconstructs the distribution history of a gun used in

crime or recovered by the police” from manufacturer, to wholesale distributor, to retail dealer, to

its first retail purchaser. Hamilton v. Beretta Corp., 750 N.E. 2d 1055, 1065 (N.Y. Ct. App. 2001).

When ATF contacts a firearm manufacturer and requests identification of the distributor to whom

it sold a firearm, ATF does not tell the manufacturer where law enforcement recovered the firearm

or why the firearm is being traced. Id. ATF likewise does not tell the manufacturer the purpose of

the trace or the result of the trace, and it “does not disclose any subsequently acquired retailer or

purchaser information to the manufacturer.” Id. But even if ATF did disclose trace results to

firearm manufacturers, the results would not reveal wrongdoing by either the retail seller of the

firearm or its retail purchaser. Indeed, ATF has repeatedly emphasized:

             “[T]he appearance of [an FFL] or a first unlicensed purchaser of record in
            association with a crime gun or in association with multiple crime guns in no way
            suggests that either the FFL or the first purchaser has committed criminal acts.
            Rather, such information may provide a starting point for further and more detailed
            investigation.” (Youth Crime Gun Interdiction Initiative, supra, at 17
            < http://www.atf.treas.gov/firearms/ ycgii/update1.pdf>).

Id. at 1065 n.8; see also People ex rel Spitzer v. Sturm, Ruger & Co. Inc., 761 N.Y.S. 2d 192, 199

(N.Y.App.Div. 2003) (rejecting argument that ATF trace requests put firearm manufacturers on

notice of how criminals acquire firearms). Any ATF trace records in Ruger’s possession would

reveal nothing about how a firearm ended up in Mexico or explain the circumstances under which

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the firearm was recovered by Mexican law enforcement authorities.5

            The Mexican Government has provided no cognizable legal or factual basis upon which

the Court could order jurisdictional discovery. It has not made a colorable personal jurisdiction

claim, nor has it acted diligently to present relevant “pertinent avenues of inquiry” that will lead

to a finding that Ruger is subject to specific personal jurisdiction in this case. See Crocker v. Hilton

Intern. Barbados Ltd., 976 F. 2d 797, 801 (1st Cir. 1992) (affirming denial of jurisdictional

discovery on the ground that information sought was irrelevant to the jurisdictional issue before

the court). This Court has broad discretion to decide whether jurisdictional discovery should be

permitted, and its ruling will be “overturned only upon a clear showing of manifest injustice” and

a finding that the ruling is “plainly wrong and resulted in substantial prejudice to the aggrieved

party.” Swiss American Bank, 274 F. 3d at 626. Therefore, the Court should deny the Mexican

Government’s request for jurisdictional discovery.




5
          Federal law prohibits ATF from disclosing firearms trace data except to law enforcement agencies in the
United States, foreign law enforcement agencies “solely in connection with or for use in a criminal investigation or
prosecution,” and to federal agencies for national security or intelligence purposes. Pub. L. No. 112-55, 125 Stat. 552
(2012). And under federal law, firearms trace data “shall be inadmissible in evidence, and shall not be used, relied
on, or disclosed in any manner, nor shall testimony or other evidence be permitted based on the data, in a civil action
in any State (including the District of Columbia) or Federal Court or in any administrative proceeding .…” Id.
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                                          CONCLUSION

            Assessing the adequacy of the Mexican Government’s Opposition to Ruger’s motion is a

question of law. Barrett v. Lombardi, 239 F. 3d 23, 27 (1st Cir. 2001). The inadequacy of the

Mexican Government’s jurisdictional showing is clear. Ruger’s motion should be granted.



                                                      Respectfully submitted,

                                                      STURM, RUGER & CO., INC.,

                                                      By its attorneys,

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 Dated: March 14, 2022




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                                CERTIFICATE OF SERVICE

        I, Jonathan I. Handler, hereby certify that this document(s) filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
(NEF) and paper copies will be sent to those indicated as non-registered participants on March 14,
2022.




                                                     /s/Jonathan I. Handler
                                                     Jonathan I. Handler




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